        Case 2:17-cv-09796-ILRL-KWR Document 1 Filed 09/28/17 Page 1 of 7



                                UNITED STATES DISTRICT COURT

                               EASTERN DISTRICT OF LOUISIANA

FIELDWOOD ENERGY LLC,                                   CIVIL ACTION
GOM SHELF LLC and FIELDWOOD
ENERGY OFFSHORE LLC                                     NUMBER

VERSUS                                                  JUDGE

GULF RESOURCE MANAGEMENT INC.                           MAGISTRATE JUDGE

                                             COMPLAINT

         NOW COME plaintiffs, Fieldwood Energy LLC, GOM Shelf LLC and Fieldwood

Energy Offshore LLC (hereafter collectively “Fieldwood”), and file their Complaint against

defendant, Gulf Resource Management Inc. (“GRMI”), on information and belief, as follows:

                                               PARTIES

                                                   I.

         Plaintiffs herein are as follows:

         A. Fieldwood Energy LLC, a limited liability company organized under the laws of the

               State of Delaware with its principal place of business in the State of Texas. At all

               relevant times herein, Fieldwood was the sole member and manager of plaintiff,

               GOM Shelf LLC.

         B. GOM Shelf LLC, a limited liability company organized under the laws of the State of

               Delaware with its principal place of business in the State of Texas. At all relevant

               times herein, GOM Shelf LLC was an owner and the operator of Platform “P”, Block

               48, Grand Isle Area (hereafter “GI 48-P”), which is a permanent, fixed oil and gas

               production facility located in the Gulf of Mexico, on the Outer Continental Shelf, off

               the Coast of Louisiana.



{N1377954 -}                                       1
        Case 2:17-cv-09796-ILRL-KWR Document 1 Filed 09/28/17 Page 2 of 7



         C. Fieldwood Energy Offshore LLC, a limited liability company organized under the

               laws of the State of Delaware with its principal place of business in the State of

               Texas. At all relevant times herein, Fieldwood Energy Offshore LLC was an owner

               GI 48-P.

                                                 II.

         Defendant, GRMI, is a Louisiana corporation with its principal office in New Iberia,

Louisiana, whose registered agent for service of process is Charles A. Crochet, Jr., 4811

Industrial Drive, New Iberia, Louisiana, 70560. At all times relevant herein, GRMI was and

remains the owner and operator of the M/V ADAM JOSEPH, a dynamically positioned mini

supply vessel, which vessel has been assigned Official Number 123503 by the United States

Coast Guard (hereafter “ADAM JOSEPH”).

                                          JURISDICTION

                                                 III.

         As more fully set forth infra, Fieldwood was damaged as a result of the October 16,

2016, allision of the ADAM JOSEPH with the GI 48-P platform (hereafter “the Allision”). As a

result, this civil action arises under this Court’s admiralty and maritime jurisdiction, pursuant to

28 U.S.C. § 1333(1), and additionally under the Admiralty Extension Act, 46 U.S.C. § 740.

Additionally, this civil action arises under this Court’s “federal question” jurisdiction, 28 U.S.C.

§ 1331, because the Allision occurred on a situs located on the Outer Continental Shelf, and

therefore is within the subject matter jurisdiction afforded by the Outer Continental Shelf Lands

Act, 43 U.S.C. § 1349(b)(1). Fieldwood designates this matter as an admiralty and maritime

claim within the meaning of Rule 9(h) of the Federal Rules of Civil Procedure.

                                              VENUE



{N1377954 -}                                      2
         Case 2:17-cv-09796-ILRL-KWR Document 1 Filed 09/28/17 Page 3 of 7



                                               IV.

         Venue is proper in this Court, pursuant to 28 U.S.C. § 1391(b)(1), because the GI 48-P

platform is located off of and adjacent to the coast of the Parish of Lafourche, Louisiana, which

parish is within the physical jurisdiction of this Court. Additionally, venue is proper in this

Court, pursuant to 28 U.S.C. § 1391(c)(2), because GRMI has significant contacts, has

conducted business and continues to conduct business within the physical jurisdiction of this

Court.

                           GENERAL FACTUAL ALLEGATIONS

                                               V.

         During day light on October 16, 2016, the ADAM JOSEPH allided with Fieldwood’s GI

48-P platform causing physical damage to its facilities and delaying Fieldwood’s ability to

produce oil and gas from wells and pipe lines associated with the GI 48-P platform.

                           FIRST CAUSE OF ACTION FOR
                     STATUTORY VIOLATIONS AND NEGLIGENCE

                                               VI.

         The Allision and Fieldwood’s resulting damages were legally caused by the fault and

neglect of GRMI, as follows:

         (A)    The master and crew of the ADAM JOSEPH were not reasonably fit to operate

                the ADAM JOSEPH;

         (B)    Violating Rule 5 of the Convention on the International Regulations for

                Preventing Collisions at Sea (hereafter identified as “COLREGS”) (failure to

                maintain a proper look-out);

         (C)    Violating COLREGS Rule 6 (failure to maintain a safe speed);




{N1377954 -}                                   3
        Case 2:17-cv-09796-ILRL-KWR Document 1 Filed 09/28/17 Page 4 of 7



         (D)    Violating COLREGS Rule 7 (failure to timely determine if a risk of allision

                existed);

         (E)    Violating COLREGS Rule 8 (failure to take prompt and proper action to avoid the

                allision);

         (F)    Violating COLREGS Rule 19 (failure to properly conduct vessels navigation and

                operations in restricted visibility)

         (G)    The violation of any other applicable statute, rule or regulation that will be proven

                at the trial of this matter;

         (H)    Failing to timely and properly plot a course to avoid navigating under the

                prevailing conditions in close proximity to the oil and gas field in which GI 48-P

                was located;

         (I)    Failing to timely and properly set and monitor the radars to enable the ADAM

                JOSEPH to identify and locate GI 48-P, which was marked on the applicable

                navigation charts as an obstruction to navigation;

         (J)    Failing to operate the ADAM JOSEPH in a proper and safe manner; and

         (K)    All other acts of negligence or fault that will be proven at the trial of this matter.

         Fieldwood reserves the right to amend this paragraph as discovery proceeds.




{N1377954 -}                                       4
        Case 2:17-cv-09796-ILRL-KWR Document 1 Filed 09/28/17 Page 5 of 7



                 SECOND CAUSE OF ACTION FOR UNSEAWORTHINESS

                                                VII.

         The Allision and Fieldwood’s resulting damages were legally caused by the unseaworthy

conditions of the ADAM JOSEPH and the breaches of the warranty of seaworthiness by GRMI,

as follows:

         (A)    Failing to provide a competent master and crew;

         (B)    Failing to have on board and / or to timely consult the appropriate navigation

                charts of the area around GI 48-P, which was marked on the applicable navigation

                charts as an obstruction to navigation;

         (C)    Failing to have one or more working radar units on board which, had they been

                working properly, would have located GI 48-P, which was marked on the

                applicable navigation charts as an obstruction to navigation; and

         (D)    All other unseaworthy conditions of the ADAM JOSEPH and breaches of the

                warranty of seaworthiness by GRMI that will proven at the trial of this matter.

         Fieldwood reserves the right to amend this paragraph as discovery proceeds.

                                           CAUSATION

                                                VIII.

         The foregoing acts of negligence, statutory violations, and the breaches of the warranty of

seaworthiness by GRMI as well as the unseaworthy conditions of the ADAM JOSEPH were the

sole legal and proximate causes of the Allision, and Fieldwood’s resulting damages.




{N1377954 -}                                      5
        Case 2:17-cv-09796-ILRL-KWR Document 1 Filed 09/28/17 Page 6 of 7



                                                 IX.

         Fieldwood specifically pleads the legal presumption of fault otherwise known as the Rule

of THE OREGON and the legal presumption of causation otherwise known as the Rule of THE

PENNSYLVANIA.

                                             DAMAGES

                                                  X.

         As a result of the Allision, Fieldwood suffered physical damage to its GI 48-P platform,

which required surveying, inspection and repairs, the cost of which is presently estimated to be

$318,000.00, as well as damages for the delayed or deferred production from the wells and pipe

lines associated with the GI 48-P platform, and other losses and damages to be shown at the trial

of this matter.

                                                 XI.

         Fieldwood is entitled to recover from GRMI pre-judgment interest on its damages from

October 16, 2016, through the date of entry of the judgment, and post-judgment interest until

paid, and all costs of these proceedings.

         WHEREFORE, Fieldwood Energy LLC, GOM Shelf LLC and Fieldwood Energy

Offshore LLC pray:

         1.       That process in due form of law, according to the rules and practices of this

                  Honorable Court, may issue against Gulf Resources Management Inc.,

                  commanding it to appear and answer, all and singular the matters stated in this

                  Complaint;

         2.       That, after due proceedings had, there be judgment entered in favor of plaintiffs,

                  Fieldwood Energy LLC GOM Shelf LLC and Fieldwood Energy Offshore LLC,



{N1377954 -}                                      6
        Case 2:17-cv-09796-ILRL-KWR Document 1 Filed 09/28/17 Page 7 of 7



               and against defendant, Gulf Resources Management Inc., requiring defendant to

               pay damages to Fieldwood in the amount of $318,000.00, as well as damages for

               the delayed or deferred production from the wells and pipe lines associated with

               the GI 48-P platform, plus such other damages as may be proven at trial, with pre-

               judgment interest, post-judgment interest, and all costs of these proceedings; and

         3.    For all general and equitable relief which this Court is competent to grant and

               plaintiffs are otherwise entitled.

                                               Respectfully submitted,


                                               ___/s/ James D. Bercaw____________________
                                               JAMES D. BERCAW, T.A. (20492)
                                               KING, KREBS & JURGENS, P.L.L.C.
                                               201 St. Charles Avenue, 45th Floor
                                               New Orleans, LA 70170
                                               (504) 582-3800
                                               jbercaw@kingkrebs.com

                                               Attorneys for plaintiffs, Fieldwood Energy LLC,
                                               GOM Shelf LLC and Fieldwood Energy Offshore
                                               LLC

PLEASE SERVE:

Gulf Resources Management Inc.,
through its agent for service of process:
Charles A. Crochet, Jr.
4811 Industrial Drive
New Iberia, Louisiana, 70560




{N1377954 -}                                        7
